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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION


     UNITED STATES OF AMERICA
                                                   Case No. 3:19-cr-207-MMH-MCR
     vs.

     MARIO CORREA JACKSON


                                       ORDER

           THIS CAUSE is before the Court on Defendant Mario Correa Jackson’s

     Motion to Dismiss (Doc. 96; Motion), filed on September 16, 2021. In the Motion,

     Jackson requests that the Court dismiss the health care fraud object of the

     conspiracy charged in Count One of the Indictment (Doc. 1). Jackson also seeks

     dismissal of any forfeiture allegations that are conditioned upon his conviction

     of conspiracy to commit health care fraud. Motion at 1; Indictment at 13-14.

     The government filed a response in opposition to the Motion on October 26,

     2021. See United States’ Response to Defendant Jackson’s Motion to Dismiss

     (Doc. 101; Response).   On April 8, 2022, the Court held a hearing on the

     Motion at which both the Government and counsel for Jackson presented oral

     argument. See Minute Entry (Doc. 113). In light of certain issues raised at the

     hearing, the Court took the Motion under advisement and directed the parties

     to submit supplemental briefing. Id.
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           On May 6, 2022, Jackson filed Defendant’s Initial Supplemental Brief in

     Support of Defendant’s Motion to Dismiss (Doc. 117; Defendant’s Supplemental

     Motion).   The Government followed by filing its supplemental briefing in

     response on May 27, 2022, see United States’ Supplemental Memorandum in

     Opposition to Defendant’s Motion to Dismiss (Doc. 122; Government’s

     Supplemental Response), and Jackson replied on June 10, 2022, see Defendant’s

     Reply to the United States’ Supplemental Memorandum in Opposition to

     Defendant’s Motion to Dismiss (Doc. 127; Defendant’s Supplemental Reply).

     Accordingly, the matter is ripe for resolution.

     I.    Relevant Background

           On November 13, 2019, a grand jury sitting in the Middle District of

     Florida returned an eight-count Indictment charging Jackson and two co-

     Defendants with various crimes. In Count One, the United States charges

     Defendants Qualla Miller, Earl Smalls, and Mario Correa Jackson with

     conspiring to commit the following offenses: (1) the offering and paying of health

     care kickbacks, in violation of 42 U.S.C. § 1320a-7b(b)(2)(B), (2) the soliciting

     and receiving of health care kickbacks, in violation of 42 U.S.C. § 1320a-

     7b(b)(1)(A), and (3) health care fraud, in violation of 18 U.S.C. § 1347. See

     generally Indictment.1 The relevant forfeiture allegation states:



     1      Because the Motion does not address Counts Two through Eight, the Court does not
     discuss those counts here.

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           Upon conviction of a conspiracy to commit health care fraud, in
           violation of 18 U.S.C. § 1347, in violation of 18 U.S.C. § 1349, the
           defendants . . . shall forfeit to the United States, pursuant to 18
           U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), any property, real or
           personal, which constitutes or is derived from proceeds traceable to
           the offense; and pursuant to 18 U.S.C. § 982(a)(7), any property, real
           or personal, that constitutes or is derived, directly or indirectly,
           from gross proceeds traceable to the commission of the offense.

     Id. at 13-14.

           As to the underlying facts of the alleged conspiracy charged in Count One,

     the government contends that Miller and Smalls were patient recruiters for

     CASEPARK, Park and King Pharmacy, and other co-conspirator pharmacies.

     Id. at 1. According to the United States, Jackson was a patient recruiter for

     Smalls. Id. at 2. Beginning around May 2014, and continuing until around

     August 2015, Defendants purportedly recruited TRICARE beneficiaries and

     directed them to physicians, including Dr. Felmore Agatep, to obtain

     prescriptions for compounded creams. Id. at 6. The Government alleges that

     these co-conspirator physicians used “preprinted prescriptions featuring

     compounded creams with high rates of reimbursement for such generalized

     ailments as pain and scars” that were “routed through Park and King

     Pharmacy, and other conspirator pharmacies to be filled.” Id. The Government

     contends that once TRICARE paid Park and King Pharmacy for the

     compounded creams, Defendants received illegal kickbacks based on the

     number of prescriptions they directed to the conspirator pharmacies. Id. at 7.


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     Defendants allegedly used these proceeds to pay illegal kickbacks to Dr. Agatep

     in the amount of $100 per patient. Id.

           On November 20, 2019, Jackson entered a plea of not guilty as to all of the

     charges against him. See Minute Entry (Doc. 35). He then moved to dismiss

     the health care fraud object of Count One of the Indictment pursuant to Rule

     12(b)(3)(B)(v), Federal Rules of Criminal Procedure (Rule(s)), on the theory that

     the Indictment fails to “fairly, adequately, or constitutionally allege a § 371

     conspiracy to commit health care fraud.” See Motion at 2. Jackson contends

     that the Indictment is devoid of “any facts that could constitute fraud,

     misrepresentation, or falsity, neither specifically nor generally.” Id. If the

     health care fraud object of Count One is dismissed, Jackson argues, the Court

     should also dismiss the forfeiture allegations related to health care fraud. Id.

     at 2-3. Regardless of whether the health care fraud object is due to be dismissed,

     Jackson maintains the health care fraud forfeiture allegations should still be

     dismissed because they reference a section 1349 conspiracy with which Jackson

     is not charged. Id.

           In Response, the government asserts that the Indictment “makes specific

     allegations of fraud against each defendant, tracking the statutory language.”

     Response at 1. The Government maintains that Jackson has sufficient notice of

     the conduct constituting health care fraud, which is



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           recruiting TRICARE eligible individuals to receive compounding
           cream prescriptions, paying TRICARE eligible individuals to
           provide their TRICARE information, and submitting fraudulent
           claims to TRICARE for reimbursement for prescriptions that were
           not legitimately prescribed.

     Id. at 7. As to the forfeiture allegations, the government concedes that the

     forfeiture is improperly alleged. Id. at 8. Nevertheless, because the statutory

     authority for forfeiture under sections 371 and 1347 is the same, the government

     insists that “the forfeiture has properly been pled and reference to section 1349

     was merely a scrivener’s error and should be stricken.” Id. at 8-9.

           After the April 8, 2022 hearing, the Court asked the parties to address

     three issues in their supplemental briefing: (1) what impact United States v.

     Fischetti, 450 F.2d 34, 37 (5th Cir. 1971) has on the arguments raised in the

     Motion; (2) whether a bill of particulars could cure any purported defect in the

     Indictment, and (3) whether the Government can sufficiently allege a multi-

     object conspiracy to commit health care fraud without alleging an overt act that

     supports the health care fraud object. See Transcript (Doc. 114) at 11-12. In

     Defendant’s Supplemental Motion, Jackson argues that although the court in

     Fischetti stated that an essential element of a conspiracy is an overt act by a

     member in furtherance of the agreement, the language of the applicable statute

     requires the act “effect the object of the conspiracy.” Defendant’s Supplemental

     Motion at 2 (citing 18 U.S.C. § 371 and United States v. Joseph, 806 F. App’x

     910, 912 (11th Cir. 2020)). According to Defendant, the Government cannot rely

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     on this overt act to support the conspiracy to commit health care fraud charge

     without running afoul of the Eleventh Circuit Court of Appeal’s decision in

     United States v. Medina, 485 F.3d 1291 (11th Cir. 2007). Id. If the Government

     modifies its theory and alleges that the overt act was the submission of

     fraudulent prescriptions to TRICARE, then Defendant argues he “could be

     convicted on a constructively amended Indictment.” Id. Defendant maintains

     that the Indictment cannot be cured by a bill of particulars because there are no

     fraud allegations in the first place that the bill of particulars could amplify. Id.

     at 7. Thus, if the Government were permitted to file a bill of particulars adding

     allegations of fraud, it will be permitted to amend the Indictment without action

     of the grand jury. Id.

           In the Government’s Supplemental Response, it notes that the Fifth

     Circuit in Fischetti “held that it is not necessary that the object of the conspiracy

     be described in the detail necessary in an indictment for the substantive offense

     itself, and every element of the substantive offense need not be alleged within

     the conspiracy count.” Government’s Supplemental Response at 1-2. However,

     it “concedes that the indictment as plead in Count One lacks specificity as to the

     health care fraud allegation.” Id. at 2. The Government explains

           [t]he United States’ theory of prosecution as to Count One has
           always been that the conspirators, including the defendant, paid
           TRICARE beneficiaries for their personal identifying information
           and used it to generate false and fraudulent prescriptions for pain
           creams which were not medically necessary and were fraudulently

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           submitted to TRICARE for reimbursement. Also, as part of the
           conspiracy, the conspirators, including the defendant, paid and
           received kickbacks for submitting fraudulent prescriptions to
           various pharmacies which were filled, and the claims were paid by
           TRICARE.

     Id. at 2. The Government requests that it be permitted to file a bill of particulars

     to include allegations regarding the co-conspirators purported submission of

     false and fraudulent prescriptions but “recognizes that may not cure the defect

     in the indictment as to the health care fraud.” Id. In reply, Defendant disputes

     that the submission of fraudulent prescriptions was always the Government’s

     theory of the case because it was not included anywhere in the Indictment. See

     Defendant’s Supplemental Reply at 1. Additionally, Defendant reiterates its

     argument that a bill of particulars cannot cure the defect in the Indictment. Id.

     II.   Standard of Review

           Under Rule 7(c)(1), an indictment must be a “plain, concise, and definite

     written statement of the essential facts constituting the offense charged[.]” The

     Eleventh Circuit Court of Appeals has articulated a three part test to determine

     the sufficiency of an indictment:

           An indictment is sufficient if it: (1) presents the essential elements
           of the charged offense, (2) notifies the accused of the charges to be
           defended against, and (3) enables the accused to rely upon a
           judgment under the indictment as a bar against double jeopardy for
           any subsequent prosecution for the same offense.

     United States v. Steele, 178 F.3d 1230, 1233-34 (11th Cir. 1999) (internal

     citation and quotation omitted). An indictment is generally sufficient “if it sets

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     forth the offense in the words of the statute.” Hamling v. United States, 418

     U.S. 87, 117 (1974); United States v. Adkinson, 135 F.3d 1363, 1375 n.37 (11th

     Cir. 1998) (noting that an indictment need do little more than track the

     language of the statute). Indeed, the Eleventh Circuit has explained that an

     indictment that tracks the language of the statute is sufficient “as long as the

     language sets forth the essential elements of the crime.” United States v. Yonn,

     702 F.2d 1341, 1348 (11th Cir. 1983). However, an indictment that follows the

     statute is nevertheless insufficient if it fails to sufficiently apprise the defendant

     of the charged offense. United States v. Sharpe, 438 F.3d 1257, 1263 (11th Cir.

     2006). Thus, if an indictment tracks the language of the criminal statute, it

     must include enough facts and circumstances to inform the defendant of the

     specific offense being charged. United States v. Bobo, 344 F.3d 1076, 1083 (11th

     Cir. 2003).     This is necessary “not only to give the defendant notice as

     guaranteed by the [S]ixth [A]mendment, but also to inform the court of the facts

     alleged to enable it to determine whether the facts are sufficient in law to

     support a conviction.” See Belt v. United States, 868 F.2d 1208, 1211 (11th Cir.

     1989). An indictment does not, however, have to “allege in detail the factual

     proof that will be relied upon to support the charges.” United States v. Crippen,

     579 F.2d 340, 342 (5th Cir. 1978).2 Additionally,


     2     In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the
     Eleventh Circuit adopted as binding precedent all the decisions of the former Fifth Circuit
     handed down prior to the close of business on September 30, 1981.

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            [i]n ruling on a motion to dismiss for failure to state an offense, a
            district court is limited to reviewing the face of the indictment and,
            more specifically, the language used to charge the crimes. It is
            well-settled that a court may not dismiss an indictment . . . on a
            determination of facts that should have been developed at trial.

     Sharpe, 438 F.3d at 1263 (internal citation and quotation omitted). Notably,

     “[t]here is no summary judgment procedure in criminal cases. Nor do the rules

     provide for a pre-trial determination of sufficiency of the evidence.” United

     States v. Critzer, 951 F.2d 306, 307 (11th Cir. 1992). However, “[i]t is perfectly

     proper, and in fact mandated, that [a] district court dismiss an indictment if the

     indictment fails to allege facts which constitute a prosecutable offense.” United

     States v. Coia, 719 F.2d 1120, 1123 (11th Cir. 1983).

     III.   Discussion

            Section 371 makes it a crime for,

            two or more persons [to] conspire either to commit any offense
            against the United States, or to defraud the United States, or any
            agency thereof in any manner or for any purpose, and one or more
            of such persons do any act to effect the object of the conspiracy . . . .

     18 U.S.C. § 371. Here, the government alleges that Defendants conspired to,

     among other offenses, commit health care fraud against the United States. The

     substantive health care fraud statute, 18 U.S.C. § 1347, provides that

            [w]hoever knowingly and willfully executes, or attempts to execute,
            a scheme or artifice –

                  (1) to defraud any health care benefit program; or



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                 (2) to obtain, by means of false or fraudulent pretenses,
                 representations, or promises, any of the money or property
                 owned by, or under the custody or control of, any health care
                 benefit program,

           in connection with the delivery of or payment for health care
           benefits, items, or services, shall be fined under this title or
           imprisoned not more than 10 years, or both.

     18 U.S.C. § 1347. The Eleventh Circuit Court of Appeals has instructed that,

           [t]o pass constitutional scrutiny, an indictment must be sufficiently
           specific to inform the defendant of the charge against him and to
           enable him to plead double jeopardy in any future prosecution for
           the same offense. See Hamling v. United States, 418 U.S. 87, 117,
           94 S.Ct. 2887, 2907, 41 L.Ed.2d 590 (1974). An indictment satisfies
           these requirements as long as the language therein sets forth the
           essential elements of the crime. Hamling, 418 U.S. at 117, 94 S.Ct.
           at 2907. Furthermore, an indictment for conspiracy to commit a
           criminal offense is not required to be as specific as a substantive
           count. United States v. Ramos, 666 F.2d 469, 475 (11th Cir.1982).

     United States v. Cole, 755 F.2d 748, 759 (11th Cir. 1985). Nevertheless, in the

     Government’s Supplemental Response, it “concedes that the indictment as pled

     in Count One lacks specificity as to the health care fraud allegation.” See

     Government’s Supplemental Response at 2.         Despite this, the Government

     contends in its Supplemental Response that its theory “has always been” that

     the co-conspirators agreed to pay “TRICARE beneficiaries for their personal

     identifying information and used it to generate false and fraudulent

     prescriptions for pain creams which were not medically necessary and were

     fraudulently submitted to TRICARE for reimbursement.” Id. However, the

     Indictment contains no such allegations. See generally Indictment; see also

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     Medina, 485 F.3d at 1299 (in evaluating the sufficiency of the evidence under

     the facts of that case finding that “paying kickbacks alone is not sufficient to

     establish health care fraud . . . without someone making a knowing false or

     fraudulent representation to [a healthcare benefit program].”).

             In its Response, the Government had initially relied on the Eleventh

     Circuit Court’s decision in United States v. Reddy, 534 F. App'x 866, 877 (11th

     Cir. 2013) to argue that it adequately alleged health care fraud. See Response

     at 7. This argument too is unavailing. In Reddy, the defendant was charged

     with the substantive offense of health care fraud and challenged the indictment

     on the grounds that it failed to allege the “affecting commerce” element of health

     care fraud. The court found that “the language and facts alleged within the

     Indictment as a whole support[ed] the inference that the grand jury understood

     that ‘affecting commerce’ was part of the § 1347 offense.” Specifically, the Court

     held,

             [the relevant counts] provide[d] the statutory reference to §
             1347 and track[ed] the statutory offense language. In addition, [the
             counts were] prefaced with “paragraphs One through Three of
             Counts One through Twenty Five,” which detail the workings of the
             alleged health care fraud, including how RSI clients submitted
             claims for reimbursement nationwide to Medicare and other health
             care benefit plans for reimbursement, and the reported gain to RSI
             in revenue upwards of five million dollars. For these reasons,
             although the “affecting commerce” question was not presented in so
             many words, we conclude that the grand jury necessarily found that
             probable cause existed in a context where commerce was affected.



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     Id. Aside from the distinct legal issue presented, the factual allegations in the

     indictment in Reddy related to fraud are manifestly different than those here.

     Notably, the indictment in Reddy included allegations that the defendant

     “claim[ed] to have performed health care services that he did not in fact

     perform,” that he “fraudulently signed and submitted radiology reports for

     approximately 40,000 patients” when he never even reviewed the film, that he

     passed off reports created by Radiology Practice Assistants as having been

     reviewed by a board-certified radiologist, and that he knew “the hospital or other

     RSI client then submitted bills to Medicare and private insurance companies for

     these tests, including for the supposed professional services of a qualified

     radiologist that never in fact occurred.” See United States v. Reddy, Case No.

     1:09-cr-483, Indictment (Doc. 1), (N.D. Ga. Nov. 3, 2009).

           Similar specific allegations of health care fraud are also found in the

     indictments which other courts found to sufficiently allege a conspiracy to

     commit health care fraud. See United States v. Chalker, 966 F.3d 1177, 1190

     (11th Cir. 2020); see also United States v. Bane, No. 8:09CR352-T-33MAP, 2010

     WL 962779, at *1 (M.D. Fla. Mar. 16, 2010); see also United States v. Robinett,

     No. 3:15-CR-559-D(6), 2018 WL 1640116, at *2-3 (N.D. Tex. Apr. 5, 2018); see

     also United States v. Weekes, No. 17-20155, 2018 WL 3956487, at *1 (E.D. Mich.

     Aug. 17, 2018); see also United States v. Thomley, No. 2:18-CR-18-KS-MTP,

     2018 WL 6492955, at *3 (S.D. Miss. Dec. 10, 2018).

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           For example, in Chalker, the indictment included the substantive

     elements of health care fraud and contained assertions that the purpose of the

     conspiracy was for defendants to “unlawfully enrich themselves” by “submitting

     and causing the submission of false and fraudulent claims to Medicare,

     TRICARE, and Medicaid.” 966 F.3d at 1190 (emphasis added). Further, the

     indictment described the manner and means of the conspiracy “in some detail:”

           The indictment alleged that Chalker became the pharmacist-in-
           charge at Pop's Pharmacy in or around September 2014, and it
           claimed that Chalker and his co-defendants took steps to conceal
           Liva's ownership of the pharmacy. Thus, for example, the
           indictment charged Chalker with “sign[ing] and caus[ing] to be
           submitted an Express Scripts provider certification and pharmacy
           disclosure form on behalf of Pop's Pharmacy in which he” failed to
           disclose Liva's ownership interest and “falsely and fraudulently
           represented” that the pharmacy's owner “had not been the subject
           of a criminal prosecution involving fraud.” The indictment accused
           Chalker of causing “Pop's Pharmacy to submit false and fraudulent
           claims to Medicare, TRICARE, and Medicaid for compounded drugs
           and other prescription medications, including expensive pain and
           scar creams, that were not medically necessary and/or were never
           provided.” Lastly, the indictment claimed that Chalker and his co-
           defendants “oftentimes did not collect copayments” to “induce
           beneficiaries to accept medically unnecessary medications.”

     Id. (internal citations omitted). Similarly, in the manner and means section of

     the Bane indictment, the government alleged that Defendants

           did falsify and fabricate and cause to be falsified and fabricated,
           pulse oximetry test results in order to create the illusion that
           certain Medicare beneficiaries were in need of and qualified for
           Medicare reimbursement for oxygen therapy and oxygen related
           services.



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            In addition, the manner and means sections alleged that
            Defendants forged physicians’ signatures and included fraudulent
            data on Medicare claims that were submitted to CMS through
            Palmetto GBA.

     2010 WL 962779 at *1. And in Robinett, the court found that the allegations of

     a health care fraud conspiracy were sufficient where the indictment charged

     that

            defendants caused the submission and concealment of false and
            fraudulent claims to Medicare and caused the diversion of the
            proceeds of the fraud for their personal use and benefit to
            unlawfully enrich themselves. Regarding Robinett’s alleged role in
            the conspiracy, the indictment charges that other defendants and
            coconspirators provided and caused to be provided false and
            fraudulent plans of care to Robinett; that Robinett would falsely
            certify that beneficiaries qualified for home health care, despite the
            fact that the beneficiaries were not under his care and did not
            qualify for home health care; that Robinett caused Medicare to be
            billed for these false certifications, and unnecessary home health
            services, and that Robinett caused Medicare to be billed for other
            services these beneficiaries did not need.

     2018 WL 1640116, at *3. The indictments in Martin, Thomley, and Weekes also

     all similarly contained detailed factual allegations regarding the fraudulent

     nature of the conspiracy including that the prescriptions were medically

     unnecessary, medical services were not provided, and/or other materially false

     representations were made.

            Here, the Indictment does not contain the language of the substantive

     health care fraud statute, it does not set forth any facts suggesting a scheme or

     artifice to defraud, nor does it indicate the manner and means of a conspiracy


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     to defraud TRICARE. Although the Government cites to the health care fraud

     statute as an object of the conspiracy, it provides no facts suggesting how the

     conduct alleged violates that statute. Similar to the indictment in Bobo, despite

     a reference to “fraud in a health care benefit program,” the Indictment in this

     action fails to provide “the required specificity.” Bobo, 344 F. 3d at 1084. While

     it is true that an indictment for conspiracy does not need to allege the predicate

     offense with the same specificity as a substantive count, here, there is no health

     care fraud alleged at all. Indeed, from the Indictment, it is impossible to discern

     if the purported fraud Jackson conspired to commit was one that involved: (1)

     prescriptions for compounded creams that were medically unnecessary, (2) a

     provider that lacked authority to prescribe the creams, (3) the submission of

     prescriptions for compounded creams that were not in fact provided to the

     patients, or (4) one in which the defendants in some other manner agreed to

     make false representations to induce TRICARE to pay for the claims. This

     Indictment requires Jackson to speculate as to the scheme to defraud he

     purportedly conspired to commit. But, in Bobo the Eleventh Circuit held that

     “[a]n indictment that requires speculation on a fundamental part of the charge

     is insufficient.” See id. (citing Hamling, 418 U.S. at 117, 94 S.Ct. at 2907). The

     Indictment here, as to the charge that health care fraud was an object of the

     conspiracy, is plainly insufficient.



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            The Indictment also fails to allege an overt act in furtherance of a

     conspiracy to commit health care fraud. See generally Indictment. “There are

     three elements for proof of [a 18 U.S.C. § 371] conspiracy: (1) agreement between

     two or more persons to achieve an unlawful objective; (2) knowing and voluntary

     participation in that agreement by the defendant; and (3) an overt act in

     furtherance of the agreement.” United States v. Broughton, 689 F.3d 1260, 1277

     (11th Cir. 2012). The only overt acts alleged are the receipt of kickbacks by all

     three Defendants in return for submitting prescriptions for compound creams

     on behalf of TRICARE beneficiaries to a co-conspirator pharmacy.                           See

     Indictment at 8.3 Although the acts alleged might well further a conspiracy to

     pay or receive illegal kickbacks, nowhere in the Indictment are there any factual

     allegations that the Defendants defrauded a health care benefit program by

     performing such acts. See 18 U.S.C. § 1347. For all of these reasons, the Court

     finds that the Indictment fails to sufficiently allege health care fraud as an

     object of the conspiracy charged in Count One. See Belt, 868 F.2d at 1211.

            At the hearing, the Court directed the parties to address whether a bill of

     particulars could cure any purported defect in the Indictment. See Transcript

     (Doc. 114) at 11-12. In response, the Government states that it “recognize[s]



     3      Jackson’s receipt of this payment is also the basis for the substantive charge against
     him in Count Four for a violation of 42 U.S.C. § 1320a-7b(b)(1)(A), the solicitation and receipt
     of an illegal kickback in exchange for the furnishing or arranging for the furnishing of
     compounded creams for which payment may be made by TRICARE. See Indictment at 9-10.

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     that [a bill of particulars] may not cure the defect in the indictment as to the

     health care fraud.” Government’s Supplemental Response at 3. Indeed, “[a] bill

     of particulars cannot cure a legal deficiency; rather the proper result is dismissal

     of the indictment.” United States v. Superior Growers Supply, Inc., 982 F.2d

     173, 177 (6th Cir. 1992); see also Russell v. United States, 369 U.S. 749, 770, 82

     S. Ct. 1038, 1050, 8 L. Ed. 2d 240 (1962) (“But it is a settled rule that a bill of

     particulars cannot save an invalid indictment.”). As such, a bill of particulars

     here would serve no purpose. The health care fraud object of the conspiracy in

     Count One is due to be dismissed and the Government’s request for a bill of

     particulars is due to be denied. Accordingly, any forfeiture allegations that rely

     on a conviction for conspiracy to commit health care fraud are also due to be

     dismissed.

           In light of the foregoing, it is

           ORDERED:

           1. Defendant Mario Correa Jackson’s Motion to Dismiss (Doc. 96) is

              GRANTED.

           2. The health care fraud object of the conspiracy charged in Count One

              and any related forfeiture allegations are DISMISSED.




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             3. The parties are DIRECTED to submit an agreed upon redacted

               Indictment for use at trial.

             DONE AND ORDERED in Jacksonville, Florida, this 8th day of July,

     2022.




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     Copies to:
     Counsel of Record




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